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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


                                    )
RAMI N.I. TAWFIK, et al.            )
                                    )
              Plaintiffs,           )
                                    )
       v.                           )    11 Civ. 6455 (ALC) (JCF)
                                    )
SHEIKH AL-AHMAD AL-JABER,           )    ECF Case
AL-SABAH, et al.,                   )
                                    )
              Defendants.           )
                                    )




                      SUGGESTION OF IMMUNITY
              SUBMITTED BY THE UNITED STATES OF AMERICA




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– Of Counsel
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              The United States of America, by its attorney, Preet Bharara, United States Attorney for

the Southern District of New York, pursuant to 28 U.S.C. § 517,1 and at the invitation of this

Court, respectfully informs the Court of the interest of the United States in the pending lawsuit

against His Excellency Sheikh Sabah Al-Ahmad Al-Jaber Al-Sabah, the Emir and sitting head of

state of the State of Kuwait, and hereby informs the Court that Sheikh Al-Sabah is immune from

this suit.2 In support of its interest and determination, the United States sets forth as follows:

              1.             The United States has an interest in this action because the sole remaining

Defendant, Sheikh Al-Sabah, is the sitting head of state of a foreign state, thus raising the

question of Sheikh Al-Sabah’s immunity from the Court’s jurisdiction while in office. The

Constitution assigns to the U.S. President alone the responsibility to represent the Nation in its

foreign relations. As an incident of that power, the Executive Branch has sole authority to

determine the immunity from suit of sitting heads of state. The interest of the United States in

this matter arises from a determination by the Executive Branch of the Government of the United

States, in consideration of the relevant principles of customary international law, and in the

implementation of its foreign policy and in the conduct of its international relations, to recognize

Sheikh Al-Sabah’s immunity from this suit while in office.3 As discussed below, this

determination is controlling and is not subject to judicial review. Thus, no court has ever


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         28 U.S.C. § 517 provides that “any officer of the Department of Justice[] may be sent
by the Attorney General to any State or district in the United States to attend to the interests of
the United States in a suit pending in a court of the United States.”
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              2
          In this Suggestion of Immunity, the United States expresses no view on the merits of
Plaintiffs’ claims.
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              3
          The fact that the Executive Branch has the constitutional power to determine that a
sitting head of state is immune does not mean that it will do so in every case. The Executive
Branch’s decision in each case is guided, inter alia, by consideration of international norms and
the implications of the litigation for the Nation’s foreign relations. 
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subjected a sitting head of state to suit once the Executive Branch has determined that a head of

state is immune.

       2.      The Legal Adviser of the U.S. Department of State has informed the Department

of Justice that Kuwait has formally requested the Government of the United States to determine

that Sheikh Al-Sabah is immune from this lawsuit. The Legal Adviser has further informed the

Department of Justice that the “Department of State recognizes and allows the immunity of

Sheikh Al-Sabah as a sitting head of state from the jurisdiction of the United States District

Court in this suit.” Letter from Harold Hongju Koh to Stuart F. Delery (copy attached as Exhibit

A).

       3.      The immunity of foreign states and foreign officials from suit in our courts has

different sources. For many years, such immunity was determined exclusively by the Executive

Branch, and courts deferred completely to the Executive’s foreign sovereign immunity

determinations. See, e.g., Republic of Mexico v. Hoffmann, 324 U.S. 30, 35 (1945) (“It is

therefore not for the courts to deny an immunity which our government has seen fit to allow, or

to allow an immunity on new grounds which the government has not seen fit to recognize.”). In

1976, Congress codified the standards governing suit against foreign states in the Foreign

Sovereign Immunities Act, transferring to the courts the responsibility for determining whether a

foreign state is subject to suit. 28 U.S.C. §§ 1602 et seq.; see id. § 1602 (“Claims of foreign

states to immunity should henceforth be decided by courts of the United States and of the States

in conformity with the principles set forth in this chapter.”).

       4.      As the Supreme Court recently explained, however, Congress has not similarly

codified standards governing the immunity of foreign officials from suit in our courts. Samantar

v. Yousuf, 130 S. Ct. 2278, 2292 (2010) (“Although Congress clearly intended to supersede the



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common-law regime for claims against foreign states, we find nothing in the statute’s origin or

aims to indicate that Congress similarly wanted to codify the law of foreign official immunity.”).

Instead, when it codified the principles governing the immunity of foreign states, Congress left in

place the practice of judicial deference to Executive Branch immunity determinations with

respect to foreign officials. See id. at 2291 (“We have been given no reason to believe that

Congress saw as a problem, or wanted to eliminate, the State Department’s role in

determinations regarding individual official immunity.”). Thus, the Executive Branch retains its

historic authority to determine a foreign official’s immunity from suit, including the immunity of

foreign heads of state. See id. at 2284–85 & n.6 (noting the Executive Branch’s role in

determining head of state immunity).

       5.      The doctrine of head of state immunity is well established in customary

international law. See Satow’s Guide to Diplomatic Practice 9 (Lord Gore-Booth ed., 5th ed.

1979). In the United States, head of state immunity decisions are made by the Department of

State, incident to the Executive Branch’s authority in the field of foreign affairs. The Supreme

Court has held that the courts of the United States are bound by Suggestions of Immunity

submitted by the Executive Branch. See Hoffman, 324 U.S. at 35–36; Ex parte Peru, 318 U.S.

578, 588–89 (1943). In Ex parte Peru, in the context of foreign state immunity, the Supreme

Court, without further review of the Executive Branch’s immunity determination, declared that

such a determination “must be accepted by the courts as a conclusive determination by the

political arm of the Government.” 318 U.S. at 589. After a Suggestion of Immunity is filed, it is

the “court’s duty” to surrender jurisdiction. Id. at 588. The courts’ deference to Executive

Branch determinations of foreign state immunity is compelled by the separation of powers. See,

e.g., Spacil v. Crowe, 489 F.2d 614, 619 (5th Cir. 1974).



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              6.             For the same reason, courts have also routinely deferred to the Executive

Branch’s immunity determinations concerning sitting heads of state. See Ye v. Jiang Zemin, 383

F.3d 620, 626 (7th Cir. 2004) (“The obligation of the Judicial Branch is clear—a determination

by the Executive Branch that a foreign head of state is immune from suit is conclusive and a

court must accept such a determination without reference to the underlying claims of a

plaintiff.”); Saltany v. Reagan, 702 F. Supp. 319, 320 (D.D.C. 1988) (holding that the

determination of Prime Minister Thatcher’s immunity was conclusive in dismissing a suit that

alleged British complicity in U.S. air strikes against Libya), aff’d in part and rev’d in part on

other grounds, 886 F.2d 438 (D.C. Cir. 1989). When the Executive Branch determines that a

sitting head of state is immune from suit, judicial deference to that determination is predicated on

compelling considerations arising out of the Executive Branch’s authority to conduct foreign

affairs under the Constitution. See Ye, 383 F.3d at 626 (citing Spacil, 489 F.2d at 618). Judicial

deference to the Executive Branch in these matters, the court of appeals noted, is “motivated by

the caution we believe appropriate of the Judicial Branch when the conduct of foreign affairs is

involved.” Id. See also Spacil, 489 F.2d at 619 (“Separation-of-powers principles impel a

reluctance in the judiciary to interfere with or embarrass the executive in its constitutional role as

the nation’s primary organ of international policy.” (citing United States v. Lee, 106 U.S. 196,

209 (1882))); Ex parte Peru, 318 U.S. at 588.4 As noted above, in no case has a court subjected




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          As other courts have explained, the Executive Branch possesses substantial institutional
resources and extensive experience with which to conduct the country’s foreign affairs. See,
e.g., Spacil, 489 F.2d at 619; United States v. Truong Dinh Hung, 629 F.2d 908, 913–14 (4th Cir.
1980). Furthermore, “in the chess game that is diplomacy only the executive has a view of the
entire board and an understanding of the relationship between isolated moves.” Spacil, 489 F.2d
at 619.
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a sitting head of state to suit after the Executive Branch has determined that the head of state is

immune.5

              7.             Under the customary international law principles accepted by the Executive

Branch, head of state immunity attaches to a head of state’s status as the current holder of the

office. After a head of state leaves office, however, that individual generally retains residual

immunity only for acts taken in an official capacity while in that position. See 1 Oppenheim’s

International Law 1043–44 (Robert Jennings & Arthur Watts eds., 9th ed. 1996). In this case,

because the Executive Branch has determined that Sheikh Al-Sabah, as the sitting head of a
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           See Manoharan v. Rajapaksa, -- F. Supp. 2d --, 2012 WL 642446 (D.D.C. Feb 29,
2012); Habyarimana v. Kagame, -- F. Supp. 2d --, 2011 WL 5170243, at *19 (W.D. Okl. Oct.
28, 2011) (“Where the United States’ Executive Branch has concluded that a foreign head of
state is immune from suit, and where it has urged the Court to take recognition of that fact and to
dismiss the suit pending against said head of state, the Court is bound to do so.”), appeal
docketed, No. 11-6315 (10th Cir. Nov. 30, 2011); Doe v. Roman Catholic Diocese of Galveston-
Houston, 408 F. Supp. 2d 272, 278 (S.D. Tex. 2005) (“The executive’s [head of state immunity]
determination is not subject to additional review by a federal court.”); Doe I v. State of Israel,
400 F. Supp. 2d 86, 110 (D.D.C. 2005) (“When the Executive Branch concludes that a
recognized leader of a foreign sovereign should be immune from the jurisdiction of American
courts, that conclusion is determinative.”); Leutwyler v. Queen Rania Al-Abdullah, 184 F. Supp.
2d 277, 280 (S.D.N.Y. 2001) (holding that the Executive Branch’s immunity determination on
behalf of the Queen of Jordan “is entitled to conclusive deference from the courts”); Tachiona v.
Mugabe, 169 F. Supp. 2d 259, 297 (S.D.N.Y. 2001) (dismissing a suit against the President and
Foreign Minister of Zimbabwe based upon a Suggestion of Immunity filed by the Executive
Branch), aff’d on other grounds sub nom., Tachiona v. United States, 386 F.3d 205 (2d Cir.
2004); First American Corp. v. Al-Nahyan, 948 F. Supp. 1104, 1119 (D.D.C. 1996) (“The United
States has filed a Suggestion of Immunity on behalf of H.H. Sheikh Zayed, and courts of the
United States are bound to accept such head of state determinations as conclusive.”); Alicog v.
Kingdom of Saudi Arabia, 860 F. Supp. 379, 382 (S.D. Tex. 1994) (concluding that the
recognition by the Executive Branch of King Fahd’s immunity as the head of state of Saudi
Arabia required dismissal of a complaint against King Fahd for false imprisonment and abuse),
aff’d, 79 F.3d 1145 (5th Cir. 1996); Lafontant v. Aristide, 844 F. Supp. 128, 132 (E.D.N.Y. 1994)
(recognizing that the determination by the Executive Branch of Haitian President Aristide’s
immunity was binding on the court and required dismissal of the case); Anonymous v.
Anonymous, 181 A.D.2d 629, 629–30, 1581 N.Y.S.2d 726, 777 (1st Dep’t 1992) (dismissing suit
against unnamed head of state based on Executive Branch determination of immunity); Kline v.
Kaneko, 141 Misc.2d 787, 535 N.Y.S.2d 303 (Sup. Ct. N.Y. Cty. 1988) (dismissing suit based on
“conclusive” determination of head of state immunity), aff’d, 154 A.D.2d 959, 546 N.Y.S.2d 506
(1st Dep’t 1989).
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foreign state, enjoys head of state immunity from the jurisdiction of U.S. courts in light of his

current status, Sheikh Al-Sabah is entitled to immunity from the jurisdiction of this Court over

this suit. 

                                          CONCLUSION

        For the foregoing reasons, the United States respectfully submits to the Court that Sheikh

Al-Sabah is immune in this action.


Dated: April 5, 2012
                                           Respectfully submitted,

                                           PREET BHARARA
                                           United States Attorney
                                           Southern District of New York


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